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    Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &      FOR COURT USE ONLY
    Email Address

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         Individual appearing without an attorney
         Attorney for: Chapter 7 Trustee

                                            UNITED STATES BANKRUPTCY COURT
                                CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISIONDIVISION

    In re:                                                                      CASE NO.: 8:17-bk-10289-TA
TIMOTHY BROR TOUVE,                                                             CHAPTER: 7



                                                                                NOTICE OF LODGMENT OF ORDER IN
                                                                                BANKRUPTCY CASE RE: (title of motion 1):
                                                                                Motion for Order Authorizing Trustee to (1)
                                                                                Retain BKAssets.com as Auctioneer; (2) Hold
                                                                  'HEWRU V      Auction Sale of Certain Assets of the Estate;


PLEASE TAKE NOTE that the order titled Order on Motion for Order Authorizing Trustee to (1) Retain BKAssets.com as
uctioneer; (2) Hold Auction Sale of Certain Assets of the Estate; and (3) Make/Authorize Certain Disbursements and sign
Documents in Connection With Auction
was lodged on (date) 09/11/2020       and is attached. This order relates to the motion which is docket number 94 .




1
    Please abbreviate if title cannot fit into text field.

             This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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                                 Exhibit ltA"
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  1   Erin P. Moriarty (SBN 146751)
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  5   General Counsel for
      Weneta M.A. Kosmala, Chapter 7 Trustee
  6
  7
  8                           UNITED STATES BANKRUPTCY COURT
  9               CENTRAL DISTRICT OF CALIFORNIA, SANTA ANA DIVISION
 10
 11   In re                                         )       Case No.: 8:17-bk-10289-TA
                                                    )
 12   TIMOTHY BROR TOUVE,                           )       Chapter 7
                                                    )
 13                                                 )       ORDER ON MOTION FOR ORDER
                                                    )       AUTHORIZING TRUSTEE TO (1)
 14                  Debtor(s).                     )
                                                    )       RETAIN BKASSETS.COM AS
 15                                                 )       AUCTIONEER; (2) HOLD AUCTION
                                                    )       SALE OF CERTAIN ASSETS OF THE
 16                                                 )       ESTATE; AND (3) MAKE/AUTHORIZE
                                                    )       CERTAIN DISBURSEMENTS AND SIGN
 17                                                 )
                                                    )       DOCUMENTS IN CONNECTION WITH
 18                                                 )       AUCTION
                                                    )
 19                                                 )       Date: September 1, 2020
                                                    )       Time: 11:00 a.m.
 20                                                 )       Courtroom: 5B
 21
 22           The “Motion for Order Authorizing Trustee to (1) Retain BKAssets.com as Auctioneer;
 23   (2) Hold Auction Sale of Certain Assets of the Estate; and (3) Make/Authorize Certain
 24   Disbursements and Sign Documents in Connection With Auction”, filed on behalf of Weneta
 25   M.A. Kosmala (“Trustee”), Chapter 7 Trustee, as Docket # 94 (“Motion”), came on for hearing
 26   on regular notice on the above-noted date and time, the Honorable Theodor C. Albert presiding.
 27   Appearances were made as noted on the record.
 28   ///


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  1          The Court having read and considered the Motion and noted the lack of opposition, and
  2   for good cause shown:
  3          IT IS ORDERED that:
  4          1.      The Motion is granted.
  5          2.      Trustee is authorized to retain BKAssets.com (“Auctioneer”) to conduct online
  6   auctions of certain real and personal property (collectively “Assets”) described as follows:
  7                  a.      Real property in Kern County, California described as follows:
  8                          i.      APN 461-140-23-00-9 (approx. 10 acres).
  9                          ii.     APN 224-222-54-00-7 (approx. 2.5 acres).
 10                          iii.    APN 224-212-45-00-8 (approx. 2.5 acres).
 11                          iv.     APN 181-250-28-00-5 (approx.. 2.07 acres).
 12                          v.      APN 224-364-01-00-8 (approx. 7.5 acres).
 13                  b.      A Wind Energy Site Lease and Renewable Energy Development
 14   Agreement (“Lease”) entered into by and between the Debtor (through his revocable trust) as
 15   lessor and Alta Windpower Development, LLC, a Delaware limited liability company) as lessee,
 16   which is a lease covering APN 224-364-01-00-8 for use of the parcel in connection with the
 17   lessee’s wind energy generation project; the Lease is to be sold/assigned along with the parcel.
 18          3.      Auctioneer is authorized to conduct online auctions of the Assets, as generally
 19   described in the Internet Auction Agreement attached as Exhibit “A” to the Motion.
 20          4.      Trustee is authorized to establish reserves and minimums for each of the Assets;
 21   to bundle or separate the Assets for multiple auctions on multiple days; to establish the timing
 22   and order of the auctions; and to accept or reject the highest bid; all according to her business
 23   judgment.
 24          5.      The successful bidders as to each of the Assets are deemed to be “good faith
 25   purchasers” within the meaning of 11 U.S.C. § 363(m).
 26          6.      Trustee is authorized to disburse, or authorize direct disbursement, of
 27   compensation to the Auctioneer of no more than 10% of the gross sales price of the Assets,
 28   expense reimbursement to the Auctioneer of no more than $500, and up to $1,500 total in


                                                       2
                                                                                      Exhibit A Page 3
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  1   miscellaneous unanticipated expenses that may be necessary in Trustee’s discretion to
  2   consummate the sales of the Assets.
  3          7.        Trustee is authorized to sign any and all documents necessary, and to take any and
  4   all ministerial actions, which she may deem necessary and appropriate to consummate the sales
  5   of the Assets.
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                                                                                     Exhibit A Page 4
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                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
3 MacArthur Place, Suite 760
Santa Ana, CA 92707
A true and correct copy of the foregoing document entitled: NOTICE OF LODGMENT OF ORDER IN BANKRUPTCY
CASE will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and
(b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
   09/11/2020
_______________,    I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:




                                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On (date) _______________,09/11/2020       I served the following persons and/or entities at
the last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.
  Honorable Theodor C. Albert
  United States Bankruptcy Court
  411 W. Fourth Street, Suite 5085
  Santa Ana, CA 92701-4593
                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                          Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

09/11/2020            Janine Fountain                                                        /s/ Janine Fountain
Date                        Printed Name                                                      Signature




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ADDITIONAL SERVICE INFORMATION (if needed):

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”):

       Stephen N Doan steve@doanlegalcenter.com, steve@doanre.com
       Weneta M Kosmala (TR) ecf.alert+Kosmala@titlexi.com,
        wkosmala@txitrustee.com;dmf@txitrustee.com;kgeorge@kosmalalaw.com
       Angie M Marth bknotifications@ghidottiberger.com
       Erin P Moriarty emoriarty@kosmalalaw.com,
        wkosmala@kosmalalaw.com;jfountain@kosmalalaw.com;weneta.kosmala@7trustee.net
       Edward A Treder cdcaecf@bdfgroup.com
       United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov

2. SERVED BY UNITED STATES MAIL:

Timothy Bror Touve
21 Calle Coturno
Rancho Santa Margari, CA 92688

Hahn Fife & Company LLP
790 East Colorado Blvd 9th Floor
Pasadena, CA 91101

David Birdsell
Bkassets.com LLC
216 N. Centr
Mesa, AZ 85201




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June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
